
*504OPINION.
Landsdon:
The following described amounts are found by the Board to be professional expenses, trade losses evidenced by closed and completed transactions, bad debts ascertained to be worthless, and expenses in connection with business of clients definitely shown to be uncollectible within the taxable years, as designated:
1920
Traveling expenses_$102.39
Expenditures at Memphis Country Club for entertainment of clients— 96.80
1921
Bad debts-$435. 00
Loss in automobile trading- 270. 00
Professional expenses not collected- 342. 95
Earm losses- 110. 00
The contributions to the Phi Delta Theta fraternity, and the depreciation of the petitioner’s dwelling, were personal expenses. The cost of books, the brokerage paid for securing a loan to be used in the construction of the petitioner’s dwelling were either personal expenses or capital investments and are, therefore, not legal deductions from gross income. The proof in support of the claim for deduction of other items disallowed is not sufficient to enable us to make the findings of fact upon which to base a decision for the petitioner.
Judgment will be entered on 15 days’ notice, under Rule 50.
Considered by Green and Artindell.
